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                            Exhibit 19
                  Declaration of Eden Shemuelian
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  From: Chancellor Gene D. Block <                                   >
  Date: Thu, May 2, 2024 at 1:41 PM
  Subject: Our Community is in Deep Pain
  To: <                                >
  Dear Bruin Community:

  Our community is in deep pain. We are reeling from days of violence and division. And we hope
  with all our hearts that we can return to a place where our students, faculty and staff feel safe and,
  one day, connected again.

  Our approach to the encampment that was established on Royce Quad last week has been guided
  by several equally important principles: the need to support the safety and wellbeing of Bruins, the
  need to support the free expression rights of our community, and the need to minimize disruption
  to our teaching and learning mission.

  The events of the past several days, and especially the terrifying attack on our students, faculty and
  staff on Tuesday night, have challenged our efforts to live up to these principles and taken an
  immense toll on our community.

  We approached the encampment with the goal of maximizing our community members’ ability to
  make their voices heard on an urgent global issue. We had allowed it to remain in place so long as it
  did not jeopardize Bruins’ safety or harm our ability to carry out our mission.

  But while many of the protesters at the encampment remained peaceful, ultimately, the site
  became a focal point for serious violence as well as a huge disruption to our campus.

  Several days of violent clashes between demonstrators and counter-demonstrators put too many
  Bruins in harm’s way and created an environment that was completely unsafe for learning.
  Demonstrators directly interfered with instruction by blocking students’ pathways to classrooms.
  Indirectly, violence related to the encampment led to the closure of academic buildings and the
  cancellation of classes. And frankly, hostilities were only continuing to escalate.

  In the end, the encampment on Royce Quad was both unlawful and a breach of policy. It led to
  unsafe conditions on our campus and it damaged our ability to carry out our mission. It needed to
  come to an end.

  Over the past several days, we communicated with and made a formal request to meet with
  demonstration leaders to discuss options for a peaceful and voluntary disbanding of the
  encampment. Unfortunately, that meeting did not lead to an agreement.

  To preserve campus safety and the continuity of our mission, early this morning, we made the
  decision to direct UCPD and outside law enforcement officers to enter and clear the encampment.
  Officers followed a plan that had been carefully developed to protect the safety of protesters at the
  site. Those who remained encamped last night were given several warnings and were offered the
  opportunity to leave peacefully with their belongings before officers entered the area. Ultimately,
  about 300 protesters voluntarily left, while more than 200 resisted orders to disperse and were
  arrested.




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  UCLA facilities teams are now in the process of taking down structures and cleaning up the quad,
  and we ask that students, staff and faculty continue to avoid the area.

  I want to be clear that we fully support the right of our community members to protest peacefully,
  and there are longstanding and robust processes in place that allow students, faculty and staff to
  gather and demonstrate in ways that do not violate the law or our policies. I urge Bruins to take
  advantage of these many opportunities, which were designed to support advocacy that does not
  jeopardize community safety or disrupt the functioning of the university.

  I also want to recognize the significance of the issues behind the demonstrators’ advocacy. The
  loss of life in Gaza has been truly devastating, and my administration has and will continue to
  connect with student and faculty leaders advocating for Palestinian rights to engage in discussions
  that are grounded in listening, learning and mutual respect. Similarly, we will continue to support
  our Jewish students and employees who are reeling from the trauma of the brutal Oct. 7 attacks
  and a painful spike in antisemitism worldwide.

  We will also continue to investigate the violent incidents of the past several days, especially
  Tuesday night’s horrific attack by a mob of instigators. When physical violence broke out that night,
  leadership immediately directed our UCPD police chief to call for the support of outside law
  enforcement, medical teams and the fire department to help us quell the violence. We are carefully
  examining our security processes that night and I am grateful to President Drake for also calling for
  an investigation.

  The past week has been among the most painful periods our UCLA community has ever
  experienced. It has fractured our sense of togetherness and frayed our bonds of trust, and will
  surely leave a scar on the campus. While Counseling & Psychological Services and Staff & Faculty
  Counseling Center are available to lend support to those in need, I also hope we can support one
  another through this difficult moment and reaffirm the ties that unite us as a community of
  learning.

  Gene D. Block

  Chancellor

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